                                                                                                                              ^ n 7^ ?o// f<3
               Case 9:20-cr-00032-DWM                           Document 188-9                 Filed 02/25/22               Page 1 of 32
             • UNITED STa9^                                                        d 04/24/03            ^agoi-ofGZ
                 NORTHERN DISTRICT OF INDIANA                                                               Voluntary Petition
                     FORT WAYNE DIVISION

NAME OF DEBTOR                                                                   joint debtor                    RECEIVED IN THE MAIL
Matthew Anthony Marshall
ALL OTHER NAMES USED BY THE DEBTOR IN THE LAST 6 YEARS (including                ALL OTHER NAMES USED BY THE JOINT DEBTOR IN THE LAST 6
married.maiden & trade)                                                          YEARS(including married,maiden & trade)




SOC SECURITYHOTAXLD. NO (If more thai one, stateall) IF FALSE OR FRAUDULENT DO    SOC SECURITY#JTAXI.D. NO (if more than one, stateall) IF FALSE OR FRAUDULENT
NOT SIGN THIS PETITION & COMMT PERJURY!II                                         DO NOT SIGN THIS PETITION & COMMIT PERJURYIII


               3931                                                                             1474

STREET ADDRESS OF DEBTOR                                                         STREET ADDRESS OF JOINT DEBTOR




Sweetser IN 46987                                                                Sweetser IN 46987
COUNTY OF RESIDENCE OR PRINCIPAL PLACE OF BUSINESS                                COUNTY OF RESIDENCE OR PRINCIPAL PLACE OF BUSINESS

Grant                                                                            Grant

MAILING ADDRESS OF DEBTOR                                                        MAILING ADDRESS OF JOINT DEBTOR




 LOCATION OF PRINCIPAL ASSETS OF BUSINESS DEBTOR (IF DIFFERENT FROM STREET ADDRESS ABOVE)

NOT APPLICABLE

                                   Information Regarding the Debtor (Check the Applicable Boxes)
VENUE (Check any applicable box)
[x] Debtor has been domiciled or has had a residence, principal place of business or principal assets in this district for 180 days immedially
preceding the date of this petition or for a longer part of such 180 days than in any other District.
[ ] There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District

TYPE OF DEBTOR (Check all boxes that apply)                                       CHAPTER OR SECTION OF BANKRUPTCY CODE UNDER WHICH
[x] Individual(s)              [ ] Railroad                                      THE PETITION IS FILED (Check one box)
[ 1 Corporation                [ ] Stockbroker                                   [X ] Chapter 7               [ ] Chapter 11     [ ] Chapter 13
[ ] Partnership                 [ ] Commodity Broker                              [ ] Chapter 9         [ ] Chapter 12        []
[] Other----------------------                                                    [) Sec 304 0-- Case ancillary to foreign proceeding




NATURE OF DEBTS (Check one box)                                                  FILING FEE (Check one box)                              - i,
[x] Consumer/Non-Business [] Business                                            [x] Full Filing Fee attached
                                                                                  [ ] Filing Fee to be paid in installments (Applicable to Individuals
CHAPTER 11 SMALL BUSINESS (Check all boxes that apply)                           only).                                                     ^
[ ] Debtor is a small business as defined in 11 U.S.C. S101                      Must attach signed application for the court-qqhsideratky^certifying
[ ] Debtor is and elects to be considered a small business under 11              that the debtor is unable to pay fee except in installments;
    U.S.C. Sec 1121(e) (Optional)                                                Rule 1006(b)/ See Official Form No. 3            .'   -   vo

                                                                                                                                           -------------------------------------------
STATISTICAL/ADMINISTRATIVE INFORMATION (Estimates Only)                                                                                '          ^
[ ] Debtor estimates that funds will be available for distribution to unsecured credtiors
[x] Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to uunsecured creditors.


 ESTIMATED NO. OF
                                         [X]                        29
 ESTIMATED ASSETS
                                         [x] $             288,250
 ESTIMATED DEBTS
                                         M $               378,493


                                                                                                                                                     117
                                                                                                                                               20-32-M-DWM
            Case 9:20-cr-00032-DWM                             Document 188-9                     Filed 02/25/22                Page 2 of 32
 ------- ----------------------Case 03-11856—Do&4—Ftied-jP'y-24/03—Page 2 of 32--------------------------------
   Voluntary Petition                                                                       NAME OF DEBTOR(s)

                                                                                         Matthew Anthony Marshall
   (This page must be completed and filed in every case)


         STATE THAT I FILED THE FOLLOWING OTHER BANKRUPTCY CASES WITIIN LAST 6 YEARS (IF BLANK, THIS IS FIRST IN 6 YRS
   LOCATION WHERE FILED:                                         CASE NO.                                               DATE FILED



                PENDING BANKRUPTCY CASE FILED STANY SPOUSE. PARTNER:OR AFFILIATE OF TflFBEBTORrSY

   NAME OF DEBTOR:                                               CASE NUMBER:                                           DATE:

   DISTRICT                                                       RELATIONSHIP:                                         JUDGE:

   Exhibit A (To be completed only if debtor is required to file periodic reports (e.g..forms 10K and 10Q)with the Securities and
   Exchange Commission pursuant to Section 13 or 15(d) fo the Securities Exchange Act of 1934 and is requesting relief under chapter
   11)__________ Exhibit A is attached and made a part of this petition




   Exhibit C Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and
   identifiable harm to public health or safety? NO If yes and Exhibit C is attached and made a part of this petitton _____ XXXX

Signature of Non-Attorney Petition Preparer I certify that I am a bankruptcy petition preparer a defined in 11 U.S.C. 110, that I prepared this document for
compensation, and that I have provided the debtor with a copy of this document Printed Name of Bankruptcy Petition Preparer___________________ Social Sec#
_______Address___________________ X___________________________________Signature of Bankruptcy Peiion Preparer A bankruptcy petit'on preparer's foilure
to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines of imprisionment of both 11 U.S.C. 110:18 U.S.C. 156.



         DEBTOR (S) READ ENTIRE PETITION SIGN, AND DATE
             BELOW & EVERY OTHER PAGE REQUIRED
     I declare under penalty of perjury that the information provided in this petition is true and correct. I am aware that I may proceed under
    Chapter 7,11,12 or 13 of Title 11, U.S. Code, understand the relief available under each such Chapter and choose to proceed. I request
                          relief in accordance with the Chanter nf Title 11.1 Initeri States Code, snecified in this netition


  Dated: / I//12003
                                                            Sign                           Matthew Anthony^Marshall
  Dated: V ///? /2Q03
                                                             Sign
                                                           Exhibit B - Signature of Attorney


                                                                                 Bar No: 23321-85
  Attorney Name: Anita K Gloyeski

  Law Offices of Peter Francis Geraci
  4745 Statesman Dr.
  Suite A
  Indianapolis IN 46250
  317.842.1800
  317.842.7400 Fax


              I, the attorney for the petitfoner named in the foregoing petition, declare that I have informed the petitioner that (he or she) may
           proceed under chapter 7, 11, 12 or 13 of title 11, United States Code, and have explained the relief available under each Chapter.


        Attorney Name: Anita K Gloyeski                                                Dated:          /     /2003
          Case 9:20-cr-00032-DWM                    Document 188-9                Filed 02/25/22           Page 3 of 32
                         Case (UMIBEBSTTMES BSiNXiF^mWe C®HP"3 of 32
                      NORTHERN DISTRICT OF INDIANA FORT WAYNE DIVISION
 In Re:      Matthew Anthony Marshall and                                         / Debtors______________
                                                                                        Case No. : ________


                                    STATEMENT OF FINANCIAL AFFAIRS

01. INCOME FROM EMPLOYMENT OR OPERATION OF BUSINESS: State the gross amount of income debtor
has received from employment, trade, or profession, or from operation of the debtor's business from the
beginning of this calendar year to the date this case was commenced. State also the gross amounts received
during the 2 years immediately preceding this case calendar year.
  Debtor
  2003..........: Approx. $ 800 (colonial Oaks)
  2002......... : Approx. 30000 (Kroll)
  2001......... : Approx. 35000 (Kroll)
  Source....... : Employment



  Spouse
  2003...... : Approx. $6000 Colonial Oaks
  2002...... : Approx. 6000 at Accessible Staffing and $35,000 at Colonial Oaks
  2001...... : Approx. 30,000 at colonial Oaks
  Source..........: Employment
02. INCOME OTHER THAN FROM EMPLOYMENT OF OPERATION OF BUSINESS: State the amount of                                    [x] None
income received by the debtor OTHER than from employment, trade, profession, or operation of the debtor's
business during the 2 years immediately preceding the commencement of this case.


Spouse                                                                                                                 [x] None



03. PAYMENTS TO CREDITORS: List all payments on loans, installments, purchases of goods or services, and                [x] None
other debts, aggregating more than $600.00 to any creditor, made within 90 days immediately preceding the
commencement of this case. INCLUDE MORTGAGE AND VEHICLE PAYMENTS MADE IN THE LAST 3
MONTHS.


03b PAYMENTS TO RELATIVES OR FRIENDS List all payments made within 1 year immediately preceding the                    [x] None
commencement of this case or for the benefit of creditors who are or were insiders. Include co-signers.


04. SUITS AND ADMINISTRATIVE PROCEEDINGS, EXECUTIONS, GARNISHMENTS AND ATTACHMENTS:
List all lawsuits & administrative proceedings you were a party to within 1 year of today, whether as a plaintiff or
defendant or other party: include divorces, injury claims, employment claims and all others.
  Case Title...........: Maidenberg Associates
  Case No.............. : 27D03-0304-SC-1384
  Court/Agency Location: Grant Superior Court 3
  Nature of Proceeding.: Small Claims, Collection
  Suit Status..........: Judgment
04b: WAGES OR ACCOUNTS GARNISHED: List all property that has been attached, garnished or seized under                  [x] None
any legal or equitable process within 1 year:


05. REPOSSESSION, FORECLOSURES AND RETURNS: List all property repossessed, sold at foreclosure
sale, deed in lieu of foreclosure, returned to the seller, within 1 year of filing this bankruptcy:
  Creditor/Seller.... : Old National Bank
  Address.............: See Schedule F
  Date............... : 03/12/2003
  Property Description: 1995 Mariah Talari Boat
  Value............. : $10,000
06. ASSIGNMENTS AND RECEIVERSHIPS: List assignment of property for benefit of creditors within 120 days                [x] None
before filing this bankruptcy:


List any property in the hands of a custodian, receiver, or court-appointed official within 1 year of today.           [x] None
           Case 9:20-cr-00032-DWM                     Document 188-9              Filed 02/25/22            Page 4 of 32
                             Case 03-11856            Doc 1       Filed 04/24/03          Page 4 of 32
07. GIFTS: List all gifts or charitable contributions you made within 1 year before filing this bankruptcy case           [x] None
except ordinary & usual gifts or family members less than $200.00 total per individual family member, & charity
contributions less than $100.00 per recipient.


08. LIST ALL FIRE, THEFT OR GAMBLING LOSSES WITHIN 1 YEAR OF TODAY:                                                       [x] None



09. LIST ALL PAYMENTS TO CREDIT COUNSELORS OR BANKRUPTCY ATTORNEYS INCLUDING PETER
FRANCIS GERACI: (by you, or by others for you, within 1 year of today)
  Payment to debtor's attorney listed on 2016(b)
  03/18/2003 $195 04/18/2003 $1100
In addition to Peter Francis Geraci and his employees of his firm, I hired, at no additional fee, attorneys listed on     [x] None
my contract of representation to work on my case.


10. If you transferred any property of any kind within 1 year of today, give details:                                     [x] None
(Other than transfers in ordinary course of business or financial affairs of the debtor, like house sales to strangers,
vehicle trade-ins)


11.If you CLOSED or TRANSFERRED any checking savings, pension, stock, brokerage, mutual fund, credit                      [x] None
union or other accounts within 1 year of today, list details:


12. LIST ANY SAFETY DEPOSIT BOXES OR OTHER DEPOSITORY PLACES the debtor has or had securities,                            [x] None
cash, or other valuables within 1 year of today:


13. LIST ALL SETOFFS by any creditor, such as a bank or credit union, against a debt or deposit of yours within           [x] None
the past year.


14. LIST ALL PROPERTY IN YOUR NAME WHICH YOU HOLD FOR ANOTHER PERSON: (minor’s accounts,                                  [x] None
vehicle in your name that is really someone else's, account or real estate you are on title for convenience or
another)


15. WHERE HAVE YOU LIVED IN LAST 2 YEARS:

  Prior Address:                         , Marion, IN 46952
  Names(s)Used: Same
  Dates...... : 06/2000 to 04/2002
16. COMMUNITY PROPERTY STATES WISCONSIN & OTHERS: If you live or did live in a community property                         [x] None
state or territory (Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
Washington, or Wisconsin) in last 6 years, name your spouse & ex-spouse & the community property state.


17. ENVIRONMENTAL INFORMATION: "Environmental Law" means any federal, state, or local statute or                          [x] None
regulation regulating pollution, contamination, releases of hazardous or toxic substances, wastes or material into
the air, land, soil surface water, ground water, or other medium, including, but not limited to, statutes or
regulations regulating the cleanup of the these substances, wastes, or material.
"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently
or formeriy owned or operated by the debtor, including, but not limited to, disposal sites."Hazardous material"
means anything defined as a hazardous waste, hazardous or toxic substances, pollutant, or contaminant, etc.
under environmental Law.


a. If you have received notice of violation of any ENVIRONMENTAL LAW VIOLATION, list name & address of                    [x] None
every site & the governmental unit, date of the notice, & Environmental law:


b. If you provided notice of release of Hazardous Material, list name and address of every site and governmental          [x] None
unit.


c.lf you were party to any Environmental Law judicial or administrative proceedings, orders or settlements, give          [x] None
the name & address of governmental unit that is or was a party to the proceedings,& docket number.
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                             Case 03-11856             Doc 1       Filed 04/24/03          Page 5 of 32
18. List name, taxpayer ID number, nature & location of any business, sole-proprietor, partnership, corporation in
which you had any interest, office, 5% of more voting or equity interest within 6 years of today
  Name: Elite Nursing Services
  Taxpayer ID Number:          6972
  Address: 100 South Washington Street, Suite 101, Marion, IN
  Nature of Business: Staffing Agency
  Beginning and Ending Dates: From 8/01-8/02
b. Identify any business listed in subdivision a .that is "single asset real estate" as defined in 11 U.S.C. 101.      [x] None



19. List all bookkeepers and accountants in the last 2 years who kept, or supervised the keeping of, your books
of account and records.
  Name:
  Address:
  Dates Services Rendered:
                                                                                                                       [x] None
b. List all firms or individuals who have audited the books of account and records, or prepared a financial
statement of yours in the last 2 years.


c. List all firms or individuals who are now in                                                                        [x] None
possession of your books of account and records of the debtor. If any books or records are not available, explain.


d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a    [x] None
financial statement was issued within the last 2 years.


20. INVENTORIES
a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
taking of each inventory, and the dollar amount and basis of each inventory.
   Date of Inventory:
   Inventory Supervisor:
   Dollar Amount of Inventory:
   Basis: (Cost or Market Basis)
b. List the name and address of the person having possession of the records of each of the two inventories             [x] None
reported in a., above.


21 A. Only if you are a partnership, list nature and percentage of interest of each member of it.



b. Only if debtor is a corporation, list officers & directors; each stockholder who directly or indirectly owns,       [x] None
controls, or holds 5% or more of the voting or equity securities of the corporation.


22. ONLY IF debtor is a partnership, list each member who withdrew from the partnership within 1 year.                 [x] None



b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated   [x] None
within 1 year immediately preceding the commencement of this case.


23. ONLY IF DEBTOR IS A PARTNERSHIP OR CORPORATION, list withdrawals or distributions or payments,                     [x] None
bonuses, loans etc. to insiders, including compensation in any form, in past year.


24. ONLY IF YOU ARE A CORPORATION, list information of parent corporation and taxpayer ID number in last 6             [x] None
years.


25. ONLY IF debtor is not an individual, list name & federal taxpayer ID number of any pension fund to which           [x] None
debtor, as an employer, was responsible for contributing in last 6 years.
           Case 9:20-cr-00032-DWM                     Document 188-9               Filed 02/25/22           Page 6 of 32
                            Case 03-11856             Doc 1       Filed 04/24/03         Page 6 of 32
22.   ONlLY IF debtor is a partnership, list each member who withdrew from the partnership within 1 year.              [x] None



b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated   [x] None
within 1 year immediately preceding the commencement of this case.


 23. ONLY IF DEBTOR IS A PARTNERSHIP OR CORPORATION, list withdrawals or distributions or payments,                    [x] None
 bonuses, loans etc. to insiders, including compensation in any form, in past year.


 24. ONLY IF YOU ARE A CORPORATION, list information of parent corporation and taxpayer ID number in last 6            [x] None
 years.


 25. ONLY IF debtor is not an individual, list name & federal taxpayer ID number of any pension fund to which          [x] None
 debtor, as an employer, was responsible for contributing in last 6 years.


                            DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
  I declare under penalty of perjury that I have read the answers contained in the foregoing Statement of Financial
Affairs and any attachments thereto and that they are true and correct


                                              Sign:
Dated: #*/             / /6_______/2003                         MattheW Anthony lytXrsHall


                                               Sign:_X
Dated: OV               /    /'/                /2003

                              SIGN AND DATE ABOVE AFTER READING IT

   Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for
   up to 5 years or both. 18 U.S.C. SS 152 and 3571.
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                                   UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF INDIANA FORT WAYNE DIVISION

In Re:
         Matthew Anthony Marshall and                                 / DebtorSase No. :
          Attorney for Debtor: Anita K Gloyeski
           For: Peter Francis Geraci

                                           SUMMARY OF SCHEDULES

                                             ATTACHED                  AMOUNTS              S C H E D U L E D
NAME OF SCHEDULE                              (YES / NO)    PAGES       ASSETS             LIABILITIES   OTHER
SCHEDULE A - Real Property                        Yes         1           170,000
SCHEDULE B - Personal Property                    Yes                     118,250
SCHEDULE C - Exempt                               Yes
SCHEDULE D - Secured                              Yes                                      321,060
 SCHEDULE E - Unsecured Priority                  Yes         1
SCHEDULE F - Unsecured NonPriority                Yes                                       57,433
 SCHEDULE G - Executory Contracts                 Yes
 SCHEDULE H - CoDebtors                           Yes         1
 SCHEDULE 1 - Income                              Yes         1                                              1,517
 SCHEDULE J - Expenditures                        Yes         1                                              1,909


                                                                  $       288,250   $      378,493
               Case 9:20-cr-00032-DWM                           Document 188-9              Filed 02/25/22              Page 8 of 32
                                   Case 03-11856                Doc 1     Filed 04/24/03           Page 8 of 32

                                                                                            BY WHOft
    In re:           Matthew Anthony Marshall and                                             / Debtors

                                                                                                     Case No. :
                                                    SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or furture interest, including all property
    owned as a cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds
    rights and powers exercisable for the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the
    property by placing an "H", "W, "J", or "C” in the column labeled "HWJC”. If the debtor holds no interest in real property, write
    "NnrtA" itnHpr "DA.qr.rintinn anrl 1 nratinn nf Pmnprtv "



         Description and                            Nature of Debtor's               HWJC              Market Value of            Amount of
         Location of Property                       Interest in Property                               Debtor's Interest        Secured Claim



  Old National                Sweetser, IN 46987;
  purchase price $127,600 in 2002 with $2,500 down                                                               $ 170,000             $ 187,958
  payment; 3 bdr, 2.5 bath,3500 square feet (Debtor’s
  Residence) (Surrender)
                                                                                         Total                  $   170,000



In re:        Matthew Anthony Marshall and                                               / Debtors_________________________________
                                                                                                         Case No. : __________
                                         SCHEDULE B - PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the
   categories, place an "x" in the appropriate position in the column la bled “None." If additional space is needed in any category, attach
   a separate sheet properly identified with the case name, case number, and the number of the category. If the debtor is married, state
   whether husband, wife, or both own the property by placing an ’’H", "W", "J”, or "C" in the column labeled "HWJC". If the debtor is an
   individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.



   Description and Location of Property                                                           HWJC              Market Value of Debtor's
                                                                                                                     Interest Before Claim

 01. Cash on Hand                                                                                                        fxl None

 02. Checking, savings or other financial accounts, certificates of deposit or
 shares in banks.


     Checking at Mutual Federal account number                             6197                                         $      46

 03. Security Deposits with public utilities, telephone companies, landlords                                             [xl None
 and others.




                                                                                                                            Page No.   1
                Case 9:20-cr-00032-DWM                     Document 188-9                Filed 02/25/22            Page 9 of 32
                                 Case 03-11856             Doc 1       Filed 04/24/03           Page 9 of 32
In re:         Matthew Anthony Marshall and                                           / Debtors_______________________________
                                                                                                     Case No.: __________
                                       SCHEDULE B - PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the
   categories, place an"x" in the appropriate position in the column la bled "None." If additional space is needed in any category, attach
   a separate sheet properly identified with the case name, case number, and the number of the category. If the debtor is married, state
   whether husband, wife, or both own the property by placing an "H", "W", "J", or "C" in the column labeled "HWJC". If the debtor is an
   individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.


   Description and Location of Property                                                       HWJC             Market Value of Debtor's
                                                                                                                Interest Before Claim

 04. Household goods and furnishings, including audio, video, and computer
 equipment.


     Household goods; TV, VCR, stereo, fax machine, CD player, sofa,                                               $    1,500
     loveseat, vacuum, table, chairs, lamps, entertainment center, bedroom
     set, washer/dryer, stove, refrigerator, microwave, pots/pans,
     dishes/flatware, toaster, coffee maker, lawn mower and tools

     Value City - table/chairs                                                                           w         $     200


     Value City - Furniture                                                                              w         $     100


         Dell - computer                                                                                  H        $     200


         HH Gregg - 52" Panasonic TV (surrender)                                                          H        $     500

 05. Books, pictures and other art objects, antiques, stamp, coin, record,
 tape, compact disc, and ot


         Compact discs                                                                                             $     180

 06. Wearing Apparel


         Necessary wearing apparel                                                                                 $     200

 07. Furs and jewelry.


         Wedding rings                                                                                             $     500

 08. Firearms and sports, photographic, and other hobby equipment.


         Golf clubs, camera and bicycle                                                                            $     700

 09. Interests in insurance policies.


         Term Life Insurance - No Cash Surrender Value.                                                            0

  10. Annuities                                                                                                     fxl None
  11. Interest in IRA,ERISA, Keogh, or other pension or profit sharing plans.                                       fx] None
  12. Stocks and interests in incorporated and unincorporated businesses.                                           fxl None
  13. Interest in partnerships or joint ventures.                                                                   fxl None




                                                                                                                       Page No.   2
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                                Case 03-11856             Doc 1        Filed 04/24/03          Page 10 of 32
lo re:         Matthew Anthony Marshall and                                            Debtors_______________________________
                                                                                                     Case No.: __________
                                       SCHEDULE B - PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the
   categories, place an ”x" in the appropriate position in the column la Wed "None." If additional space is needed in any category, attach
   a separate sheet properly identified with the case name, case number, and the number of the category. If the debtor is married, state
   whether husband, wife, or both own the property by placing an "H", "W", "J", or "C" in the column labeled "HWJC". If the debtor is an
   individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.



   Description and Location of Property                                                       HWJC             Market Value of Debtor's
                                                                                                                Interest Before Claim

 14. Government and corporate bonds and other negotiable and                                                        [xl None
 non-negotiable instruments.
 15. Accounts receivable


         Old National Bank-lien on accounts receivable for Elite Nursing                                           $ 107,000
         Services (surrender)
 16. Alimony, maintenance, support and property settlements to which the                                            fxl None
 debtor is or may be entitled
 17. Other liquidated debts owing debtor including tax refunds.                                                     fxl None
 18. Equitable and future interests, life estates, and rights of power                                              fxl None
 exercisable for the benefit of
 19. Contingent and Non-contingent interests in estate of a decedent, death                                         Fxl None
 benefit plan, life insura
 20. Other contingent and unliquidated claims of every nature, including tax
 refunds, counter claims


         2002 tax refund received and spent 4/03 federal: $2954 state: OWED                                        0
         $23
 21. Patents, copyrights and other intellectual property.                                                           Fxl None
 22. Licenses, franchises and other general intangibles.                                                            fxl None
 23. Autos, Truck, Trailers and other vehicles and accessories.


         Fifth Third Bank-2000 Ford Explorer with 57386 miles (Leased Vehicle)                            H        $     7,124

  24. Boats, motors and accessories.                                                                                fxl None
  25. Aircraft and accessories.                                                                                     Fxl None
  26. Office equipment, furnishings, and supplies.                                                                  fxl None
  27. Machinery, fixtures, equipment, and supplies used in business.                                                Fxl None
  28. Inventory                                                                                                     Fxl None
  29. Animals


         Family Pets: Boston Terrier named Max                                                                      0

  30. Crops-Growing or Harvested.                                                                                   fxl None
  31. Farming equipment and implements.                                                                             fxl None
  32. Farm supplies, chemicals, and feed.                                                                            fxl None

  33. Other personal property of any kind not already listed.                                                        fxl None




                                                                                                                        Page No.   3
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                                                                                            Total                   $ 118,250




In re:       Matthew Anthony Marshall and                                            / Debtors
                                                                                                    Case No. :
                                     SCHEDULE C - PROPERTY CLAIMED EXEMPT
   [] 11 U.S.C S522(b)(1): Exemptions provided in 11 U.S.C. S522(d). Note: These exemptions are available only in certain states.
   [x] 11 U.S.C. 3522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's
   domicile has been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day
   period than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is exempt
   from process under aplicable nonbankruptcy law.

   Description of Property             Specify Law Providing Exemption                         Value of Claimed Market Value of
                                                                                                    Exemption                  Debtor's Interest
                                                                                              ----------------------------------- Before Claim
   00. Real Property


      Old National                Sweetser, IN 46987;         IC 34-55-10-2(b)(1)           0                                        $ 170,000
      purchase price $127,600 in 2002 with $2,500 down
      payment: 3 bdr, 2.5 bath,3500 square feet (Debtor's
      Residence) (Surrender)
   02. Checking, savings or other financial accounts, certificates of deposit or shares in banks.


         Checking at Mutual Federal account number                        IC 34-55-10-2(b)(3)                   $      46               $      46
                6197


   04. Household goods and furnishings, including audio, video, and computer equipment.


         Value City - table/chairs                                        IC 34-55-10-2(b)(2)                   0                      $      200


         Value City - Furniture                                           IC 34-55-10-2(b)(2)                   0                      $      100


         Dell - computer                                                  IC 34-55-10-2(b)(2)                   0                      $      200


         HH Gregg - 52" Panasonic TV (surrender)                          IC 34-55-10-2(b)(2)                   0                      $      500



      Household goods: TV, VCR, stereo, fax machine, CD       IC 34-55-10-2(b)(2)        $ 1,500                                       $    1,500
      player, sofa, loveseat, vacuum, table, chairs, lamps,
      entertainment center, bedroom set, washer/dryer, stove,
      refrigerator, microwave, pots/pans, dishes/flatware,
      toaster, coffee maker, lawn mower and tools
   05. Books, pictures and other art objects, antiques, stamp, coin, record, tape, compact disc, and ot


          Compact discs                                                   IC 34-55-10-2(b)(2)                   $      180              $      180



   06. Wearing Apparel


          Necessary wearing apparel                                       IC 34-55-10-2(b)(2)                   $      200              $     200



    07.    Furs and jewelry.




                                                                                                                          Page No.     4
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In re:      Matthew Anthony Marshall and                                                              / Debtors
                                                                                                                      Case No,:
                                       SCHEDULE C - PROPERTY CLAIMED EXEMPT
   [ ] 11 U.S.C S522(b)(1): Exemptions provided in 11 U.S.C. 8522(d). Note: These exemptions are available only in certain states.
   [x] 11 U.S.C. 8522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's
   domicile has been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day
   period than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is exempt
   from process under aplicable nonbankruptcy law.
   Description of Property                    Specify Law Providing Exemption                                            Value of Claimed Market Value of
                                                                                                                               Exemption                 Debtor's Interest
  --------------------------------------------------------------------------------------------------------------------------------------------------------- Before Claim—
   07. Furs and jewelry.


         Wedding rings                                                                  IC 34-55-10-2(b)(2)                         $        500              $       500



   08.     Firearms and sports, photographic, and other hobby equipment.


         Golf clubs, camera and bicycle                                                 IC 34-55-10-2(b)(2)                          $       700              $       700



   09.     Interests in insurance policies.


         Term Life Insurance - No Cash Surrender Value.                                 IC 27-1-12-14(c) and (d)                         0                                   0



   15. Accounts receivable


         Old National Bank-lien on accounts receivable for Elite                        IC 34-55-10-2(b)(3)                         0                       $ 107,000
         Nursing Services (surrender)

   20. Other contingent and unliquidated claims of every nature, including tax refunds, counter claims


         2002 tax refund received and spent 4/03 federal: $2954                        IC 34-55-10-2(b)(3)                          0                                    0
         state: OWED $23

    23. Autos, Truck, Trailers and other vehicles and accessories.


         Fifth Third Bank-2000 Ford Explorer with 57386 miles                            IC 34-55-10-2(b)(2)                         0                        $    7,124
         (Leased Vehicle)

    29. Animals


         Family Pets: Boston Terrier named Max                                         IC 34-55-10-2(b)(2)                          0                                    0




                                                                                                                                   BY WHOM




                                                                                                                                                Page No        5
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                  ln re: Matthew Anth                                         r Dawn Marshall / Debtors

                                                                                               Case No. :

                          SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
    State the name, mailing address, including zip code, and account number, if any, of all entities holding claims secured by property
    of the debtor as of the date of filing of the petition. List creditors holding all types of secured interests such as judgment liens,
    garnishments, statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the
    extent practicable. If all secured creditors will not fit on this page, use the continuation sheet provided.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebor,"
    include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state
    whether husband, wife, both of them, or the martial community may be liable on each claim by placing "IT, "W", "J", or “C" in the

    Creditor Name and Address                              Date & Nature of Lien                    Creditors           Unsecured
                                                           Description/                            Claim Amount         Portion and
                                                           Secured Value of Lien                                         Notes
                                                                                                        HWJC

1   Dell Financial Services                               03/23/2002 Purchase Money Security                 $   2,609      $       2,409

    Account No.                7001                       Value: $        200                           H
    Attn: Bankruptcy Dept.                                 Dell - computer
    PO Box 4125
    Carol Stream IL 60197-4125


                 Encore Receivable                          Representing:         Dell Financial Services
                 Management
                 Attn: Bankruptcy Dept.
                 PO Box 3330

                 Olathe KS 66063-3330

2 Fifth Third Bank                                         04/2000 Leased Vehicle                            $    7,124     $               0

    Account No.                   0018                     Value: $      7,124                          H
    Attn: Bankruptcy Dept.                                 Fifth Third Bank-2000 Ford Explorer with
    38 Fountain Sq. Plaza                                  57386 miles (Leased Vehicle)
    Cincinnati OH 45263




3   HH Greqq/GE Capital                                    5/02 Purchase Money Security                      $    2,500     $        2,000

    Account No.                     4696                   Value: $       500                           H
    Attn: Bankruptcy Dept.                                 HH Gregg - 52" Panasonic TV (surrender)
    PO Box 9001557
    Louisville KY 40290




4   Old National Bank                                      05/2002 Mortgage                                 $ 154,000       $               0

    Account No.        8234                                Value: $ 170,000
    Attn: Bankruptcy Dept.                                 Old National                Sweetser, IN
    110 East Main Street                                   46987; purchase price $127,600 in 2002 with
    Muncie IN 47305                                        $2,500 down payment; 3 bdr, 2.5 bath,3500
                                                           square feet (Debtor's Residence) (Surrender)




                                                                                                                   Page No.     6
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                 •|n re: Matthew Antho                                         r Dawn Marshall / Debtors

                                                                                              Case No. : ______________________

                          SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
    State the name, mailing address, including zip code, and account number, if any, of all entities holding claims secured by property
    of the debtor as of the date of filing of the petition. List creditors holding all types of secured interests such as judgment liens,
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    extent practicable. If all secured creditors will not fit on this page, use the continuation sheet provided.

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    include the entity on the appropriate schedule of aeditors, and complete Schedule H - Codebtors. If a joint petition is filed, state
    whether husband, wife, both of them, or the martial community may be liable on each claim by placing "H”, "W”, "J", or “C" in the

    Creditor Name and Address                              Date & Nature of Lien                   Creditors           Unsecured
                                                           Description/                           Claim Amount         Portion and
                                                           Secured Value of Lien                                        Notes
                                                                                                       HWJC

5   Old National Bank                                     07/2002 Mortgage - Second                        $     33,958    $               0

    Account No.          3412                             Value: $ 170,000
    Attn: Bankruptcy Dept.                                Old National                Sweetser, IN
    PO Box 3728                                           46987; purchase price $127,600 in 2002 with
    Evansville IN 47736                                   $2,500 down payment; 3 bdr, 2.5 bath,3500
                                                          square feet (Debtor's Residence) (Surrender)




6   Old National Bank                                      11/2002 Non-Purchase Money Security $                 20,000    $               0

    Account No.         3089                              Value: $ 107,000
    Attn: Bankruptcy Dept.                                Old National Bank-lien on accounts receivable
    PO Box 3728                                           for Elite Nursing Services (surrender)
    Evansville IN 47736


                  Krieg De Vault                            Reo re sen tine:      Old National Bank

                  One Indiana Square
                  Suite 2800
                  Indianapolis IN 46204

7   Old National Bank                                      2002 Non-Purchase Money Security                 $    98,289    $          98,289

    Account No.         8760                               Value: $ 107,000
    Attn: Bankruptcy Dept.                                 Old National Bank-lien on accounts receivable
    PO Box 3728                                            for Elite Nursing Services (surrender)
    Evansville IN 47736


                  Krieg-Devaul & Attorneys                  Reoresentina:         Old National Bank
                  Attn: Bankruptcy Dept.
                  Suite 2800

                  Indianapolis IN 46204-2079

8   Value City Furniture                                   5/02 Purchase Money Security                      $    1,518       $        1,318

    Account No.                 9411                       Value: $        200                         W
    Attn: Bankruptcy Department                            Value City - table/chairs
    Box 9767
    Macon GA 31297




                                                                                                                   Page No.       7
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I-1"1 re: Matthew Anthony Marshall and                                           / Debtors            _________

                                                                                                   Case No.: ___________________ ____

                              SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
        State the name, mailing address, including zip code, and account number, if any, of all entities holding claims secured by property
        of the debtor as of the date of filing of the petition. List creditors holding all types of secured interests such as judgment liens,
        garnishments, statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the
        extent practicable. If all secured creditors will not fit on this page, use the continuation sheet provided.

        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebor,"
        include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state
        whether husband, wife, both of them, or the martial community may be liable on each claim by placing "H", "W“, "J", or "C" in the

        Creditor Name and Address                              Date & Nature of Lien                   Creditors            Unsecured
                                                               Description/                            Claim Amount         Portion and
                                                               Secured Value of Lien                                         Notes
                                                                                                            HWJC




    9   Value City Furniture                                   5/02 Purchase Money Security                      $     1,062     $         962

        Account No.                    7015                    Value: $       100                           w
        Attn: Bankruptcy Dept.                                 Value City - Furniture
        Box 9767
        Macon GA31297




                                                                                 TOTAL                 $             321,060


   In Re. Matthew Anthony Marshall and                                                / Debtors
                                                                                                 Case No. :
                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only
   holders of unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state
   the name and mailing address, including zip code, and account number, if any, of all entities holding priority claims against the
   debtor or the property of the debtor, as of the date of the filing of the petit ton.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled "Codebtor."
   indude the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state
   wh^thiar hu^hanrt wif*a Kr»th of fh#»m or thp martial rommnnitv ma v he liable on earh <Saim hv nlarinn an "H” "W’ “.I" or ”C'." in the

   Claims of a spouse, former spouse, or child of the debtor, for alimony, maintenance or support, to the extent provided in 11 U.S.C.
   S507(a) (7).
   Taxes and Certain Other Debts Owed to Governmental Units
   Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. S507(a) (8).

                                                                                                   Conti gent
                                                         Date Claim was Incurred                   Unliquidated                Claim Amount
                                                         Consideration for Claim                   Disputed                                 ,
   Creditor Name and Address                                                                       Codebtor                       and Notes

     fx] None




                                                            Description                                      BY WHOM




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■ln re-   Matthew Anthony Marshall and                                               / Debtors

                                                                                                 Case No.: ______________________

           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
          State the name, mailing address, including zip code, and account number, if any, of all entities holding unsecured claims
          without priority against the debtor or the property of the debtor, as of the date of filing of the petition. Do not ini elude claims
          listed in Schedules D and E. If any entity other than a spouse in a joint case may be jointly liable on a daim, place an "X” in
          the column labeled "Codebtor," in dude the entity on the appropriate schedule of creditors, and complete Schedule H -
          Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the martial community may be liable on
          each daim by placing an ”H", "W", \T, or "C" in the column labeled "HWJC". If the daim is contigent, place an "X" in the
          column labeled "Contingent." If the daim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claims is

          Creditor Name and Address                      Date Claim Was Incurred                                       Claim Amount
           Account #                                     Consideration for claim                             HWJC


     1     Discover Financial                                  90-10/02                                          H                  $    4 271
          Account No.                     4916                 Credit Card or Credit Use

          Attn: Bankruptcy Dept.
          PO Box 8003
          Hilliard OH 43026




     2     Ewer and Moritz. PC                                 2002                                                                  $       400
           Account No.                                         Debt Owed

           PO Box 1029 517
           Marion IN 46952




     3     First Horizon                                       8/02                                              ^                  $    4 555
           Account No.                     1463                Credit Card or Credit Use

           Attn: Bankruptcy Dept.
           PO Box 1545
           Memphis TN 38101-1545




     4     Gateway                                             200°-8/01                                                             $   1,687
           Account No.                     9025                 Credit Card or Credit Use

           Attn: Bankruptcy Dept.
           PO Box 8181
           Gray TN 37615




     5     KHESLC                                               1999-4/03
                                                                                                                                    $    11,250
           Account No.            4740                          Loan or Tuition for Education

           Attn: Bankruptcy Dept.
           PO Box 9001774
           Louisville KY 40290-1774




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re-   Matthew Anthony Marshall and                                               / Debtors
                                                                                            Case No.: ______________________

       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and account number, if any, of all entities holding unsecured claims
      without priority against the debtor or the property of the debtor, as of the date of filing of the petition. Do not inlclude claims
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      column labeled "Contingent." If the daim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claims is

      Creditor Name and Address                     Date Claim Was Incurred                                       Claim Amount
       Account #                                    Consideration for claim                             HWJC


 6     Lowes                                              01-8/02                                                              $    1,211
      Account No.                  5760                    Credit Card or Credit Use

      Attn: Bankruptcy Dept.
      PO Box 103079
      Roswell GA 30076-9079




 7     Maidenberq Associates                               3/14/2002
                                                                                                                               $    3,066
       Account No.                      1384               Housing/Rental/Lease

       Attn: Bankruptcy Dept.                              Judgment
       325 East 2nd Street
       Marion IN 46952


                   Morris A. Kelsay                             Representing:         Maidenberq Associates
                   Attn: Bankruptcy Dept.
                   514 South Adams Street
                   Marion IN 46953

 8     Marion General Hospital                             01/03/2002
                                                                                                                                    1,064
       Account No.            1488                         Medical/Dental Services

       Attn: Bankruptcy Dept.
       441 N. Wabash Ave.
       Marion IN 46952-2690




 9     MBNA                                                200°-2/01                                                            $   1,236
       Account No.                   1544                  Credit Card or Credit Use

       Attn: Bankruptcy Dept.
       3451 Harry S. Truman Blvd
       St. Charles MO 63301




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'ln re   Matthew Anthony Marshall and                                               / Debtors
                                                                                               Case No. : ______________________

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and account number, if any, of all entities holding unsecured claims
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         column labeled "Contingent." If the daim is unliquidated, place an "X” in the column labeled "Unliquidated.” If the claims is

         Creditor Name and Address                     Date Claim Was Incurred                                       Claim Amount
          Account #                                    Consideration for claim                             HWJC


   10    Old National Bank                                   01-3/03                                           H                  $    8 g00
         Account No.           3931                          Deficiency, Repo'd/Surr'd Auto

         Attn: Bankruptcy Dept.                              Repossessed Boat
         110 E. Main St.
         Muncie IN 47305




   11     Provident Bank                                      98'9/02                                           H
                                                                                                                                  $    2,339
          Account No.                    8789                 Credit Card or Credit Use

          Attn: Bankruptcy Dept.
          PO Box 1844
          Cincinnati OH 45274-1844


                       Alegis Group, LP                            Representing:         Provident Bank
                       Attn: Bankruptcy Dept.
                       9700 Bissonnet St. #2000
                       Houston TX 77036-8002

   12     Sallie Mae                                          1993-4/03                                        W
                                                                                                                                  $    2,827
          Account No.                 401                     Loan or Tuition for Education

          Attn: Bankruptcy Dept.
          PO Box 9500
          Wilkes Barre PA 18773-9500




   13     Sallie Mae                                          07/14/1995                                        H
                                                                                                                                   $   6,669
          Account No.                 3101                    Loan or Tuition for Education

          Attn: Bankruptcy Dept.
          PO Box 9500
          Wilkes Barre PA 18773-9500




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ln re'   Matthew Anthony Marshall and                                               / Debtors______ _______________
                                                                                                Case No.: ________________

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and account number, if any, of all entities holding unsecured claims
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         Creditor Name and Address                      Date Claim Was Incurred                                       Claim Amount
          Account #                                     Consideration for claim                             HWJC


  14     SBC                                                  02-8/02                                           H
                                                                                                                                    $        660
         Account No.                  8766                    Utility Bills/Cellular Service

         Attn: Bankruptcy Dept.
         SBC Bill Center
         Chicago IL 60663




  15      Sears                                               93-11/02                                          H
                                                                                                                                   $    2,346
          Account No.                2798                     Credit Card or Credit Use

          Attn: Bankruptcy Dept.
          PO Box 7901
          Des Moines IA 50322




   16     Shell                                               00-8/02
                                                                                                                                    $        609
          Account No.          0703                           Credit Card or Credit Use

          Attn: Bankruptcy Dept.
          P.O. Box 20383
          Kansas City MO 64195




   17     Staples                                             00-8/02                                           W
                                                                                                                                   $    1,142
          Account No.                     0136                Credit Card or Credit Use

          Attn: Bankruptcy Dept.
          PO Box 9029
          Des Moines IA 50368-9029




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ln re:    Matthew Anthony Marshall and                                               / Debtors

                                                                                                Case No. : ______________________

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
          State the name, mailing address, including zip code, and account number, if any, of all entities holding unsecured claims
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         Creditor Name and Address                      Date Claim Was Incurred                                       Claim Amount
          Account #                                     Consideration for claim                             HWJC


  18      The College Network                                  01-11/02                                         W
                                                                                                                                   $    2,376
          Account No.          9904                            Loan or Tuition for Education

          Attn: Bankruptcy Detp.
          PO Box 35860
          Las Vegas NV


                       American Credit Exchange                     Representing:         The College Network
                       Attn: Bankruptcy Dept.
                       PO Box 35860
                       Las Vegas NV 89133-5860

   19     Verizon Wireless                                    00-8/02                                           H
          Account No.          0754                           Utility Bills/Cellular Service

          Attn: Bankruptcy Dept.
          777 Big Timber Rd.
          Elgin IL 60123-1488


                        National Enterprise System                  Representing:         Verizon Wireless
                        Attn: Bankruptcy Dept.
                        29125 Solon Rd.
                        Solon OH 44139


                                                                                                       TOTAL              $            57,433



In re:     Matthew Anthony Marshall and                                                Debtors
                                                                                                               Case No. : __________________
                           SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
           Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interest:
           State nature of debtor's interest in contracts, i.e., “Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease
           Provide the names and complete mailing addresses of all other parties to each lease or contract described.

           NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appro
           schedule of creditors.

           Name and Address of Other Parties to Instrument                            Notes of contract or Lease and Debtor's Interest


         1 Fifth Third Bank                                       Contract Type: Lease on Vehicle
           Attn: Bankruptcy Dept.
           38 Fountain Sq. Plaza
           Cincinnati OH 45263




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In re: Matthew Anthony Marshall and                                            / Debtors
                                                                                                        Case No.:

                                          SCHEDULE H - CODEBTORS
  Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts
  listed by debtor in the schedules of creditors. Indude all guarantors and co-signers. In community property states, a married debtor
  not filing a joint case should report the name and address of the nondebtor spouse on this schedule. Indude all names used by the
  non debtor s oouse durino the six vears immediately orecedino the commencement of this case.
  Name and Address of Codebtor                                                                 Name and Address of Creditor


       fxl None




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In re: Matthew Anthony Marshall and                               / Debtors
                                                                                           Case No. :
                    SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

                  Dependent(s)               Chis Wernick, 17, son
                                             Currently Expecting Child
Debtor's Marital Status:
Married
EMPLOYMENT:                                                          SPOUSE
Occupation:               Maintenance                                         Nurse
Name of Employer:         Colonial Oaks                                       Colonial Oaks
Years Employed            2 months
Employer Address:         Address


                                                                                           DEBTOR           SPOUSE
INCOME:
Current monthly gross wages, salary, and commissions                                           520.00            2,253.33
Estimated Monthly overtime                                                                       0.00                0.00
                                                                         SUBTOTAL
    LESS PAYROLL DEDUCTIONS
    a. Payroll taxes and social security                                                       104.00             936.00
    b. Insurance                                                                                 0.00             216.67
    c. Union dues                                                                                0.00               0.00
    d. Other:     Pension                                                                        0.00               0.00
                                                                                                 0.00               0.00
                                           SUBTOTAL OF PAYROLL DEDUCTIONS                     $104.00           $1,152.67
                                           TOTAL NET MONTHLY TAKE HOME PAY                     416.00            1,100.66


Regular income from operation of business or profession or farm (attach detailed       $         0.00       $        0.00
statement)
          Income from real property                                                    $         0.00       $        0.00
Interest and dividends                                                                 $         0.00       $        0.00
Alimony, maintenance or support payments payable to debtor for the debtor's use        $         0.00       $        0.00
or that of dependents listed above
                                 Social Security or other government assistance
                                                                                       $         0.00
                                                                                                            $        0.00
Pension or retirement income                                                           $         0.00       $        0.00
Other monthly income
                                                                                       $         0.00
                                                                                                            $        0.00
                               __________________ TOTAL MONTHLY INCOME             $           416.00   $        1,100.67
                                      TOTAL COMBINED MONTHLY INCOME                $         1,516!67
Describe any increase or decrease of more than 10% in any of the above categories
anticipated to occur within the year following the filing of this document:
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                               Case 03-11856          Doc 1   Filed 04/24/03     Page 23 of 32

In re: Matthew Anthony Marshall and                                 / Debtors

                                                                                           Case No. :

               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
[ ] Check this box if a joint petition is filed and debtor's spouse maintains a separate
household. Complete a separate schedule of expenditures labeled "Spouse".

Rent or home mortgage payment (include lot rented for mobile home)              1 st Mortgage/Rent        600.00
Are real estate taxes included?  [x] Yes [ ] No
                                                                                2nd Mortgage                0.00
Is property insurance included?          [xj Yes [ ] No
                                                                                3rd Mortgage                0.00
Utilities:     Electricity and heating fuel                                                          $    175.00

             Water and Sewer                                                                         $      0.00
             Telephone                                                                               $     75.00
             Other                                                                                   $      0.00
                                                                                                     $      0.00

Home maintenance (repairs and upkeep)                                                                $      0.00
Food                                                                                                 $    400.00
Clothing                                                                                             $     50.00
Laundry and Dry Cleaning                                                                             $     40.00
Medical and Dental expenses                                                                          $     25.00
Transportation (not including car payments)                                                          $    274.00
Recreation, clubs, and entertainment, etc.                                                           $     50.00
Newspapers, Magazines                                                                                $      0.00
Charitable contributions                                                                             $      0.00
Insurance (not deducted from wages or included in home mortgage payments)
         Homeowner's or Renter's                                                                     $      0.00
         Life                                                                                        $      0.00
         Health                                                                                      $      0.00
         Auto                                                                                        $     50.00
         Other
Taxes (not deducted from wages or included in home mortgage payments.)                               $      0.00
Installment Payments:
         Auto                                                                                        $      0.00
         Other
                  Auto Repair                                                                        $     50.00
Alimony, maintenance, and support paid to others                                                     $      0.00
Payments for support of additional dependents not living at your home
Regular expenses from operation of business, profession, farm (attach detailed statement)
                Other Haircuts                                                                       $     40.00
                       Personal Care                                                                 $     50.00
                       Postage/Banking                                                               $     30.00
                       Contacts                                                                      $      0.00
         Babysitting/Childcare
         Tuition, Books                                                                              $      0.00
         Student I nans                                                                              $      0.00

              Other                                                                                  $      0.00
                                                                                                     $      0.00
              Other
  TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                       $   1,909.00
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) pje-     Matthew Anthony Marshall and                              / Debtors

                                                                        Case No.: _______________________
         DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL/JOINT DEBTOR
I declare under penalty of perjury that I have read the foregoing summary and schedules, and that they are
true and correct to the best of my knowledge, information and belief. I have disclosed on the foregoing
schedules all property or assets I may have an interest in, the correct value of it, and every debt I may be
liable for. I accept the risk that some debts won't be discharged. I have been advised of the difference
between Chapter 7 and Chapter 13, income & expense concepts, budgeting, and have made full
disclosure.



Debtor’s attorney has advised debtor that creditors can object to discharge of their debt on a variety of
grounds includiung fraud, recent credit usage, divorce and support obligations and reckless conduct.

 Debtor’s attorney has advised debor that non-dischargeable debts such as taxes, student loans, tines by
govenment units and liens on property of debtor are generally unaffected by bankruptcy.

 Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for
 up to 5 years or both. 18 U.S.C. SS 152 and 3571.


                                    Sign:
 Dated:             / /ff              /2003

                                     Sign:
 Dated:       0     /    /&          /2003

                                    SIGN AND DATE ABOVE
               Case 9:20-cr-00032-DWM                Document 188-9              Filed 02/25/22         Page 25 of 32
                              Case 03-11856          Doc 1        Filed 04/24/03       Page 25 of 32


                                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF INDIANA FORT WAYNE DIVISION

     re    Matthew Anthony Marshall and                                      Debtors                         24   m g: 47
                                                                                    Case No.:

 Attorney for Debtor: Anita K Gloyeski

                                              STATEMENT Pursuant to Rule 2016(b)

The undersigned, pursuant to Rule 2016(b), Rules of Bankruptcy Procedure, states that:

1.    The compensation paid or promised by the Debtor(s), to the undersigned, is as follows:

      For legal services rendered, Debtorfs) agrees to pay                                                   $          1,295
      Prior to the filing of this Statement, Debtorfs) has paid
                                                                                                             $            -1-95 I
      Balance Due
                                                                                                             $          Irtoe-yf

2.    The Filing Fee has been paid.

3.    The Service rendered or to be rendered include the following:

      (a) Analysis of the financial situation, and rendering advice and assistance to the client in determining whether to file
          a petition under Title 11, U.S.C.
      (b) Preparation and filing of the petition, schedules, statement of affairs and other documents required by the court.
      (c) Representation of the client at the first meeting of creditors.
      (d) Advice as required.

4.    The source of payments made by the debtorfs) to the undersigned was from earnings, wages and compensation for
      services performed, and none other.

5.    The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any,
      will be from earnings, wages and compensation for services performed and none other.


6.    The undersigned has received no transfer, assignment or pledge of property from the debtor(s) except the following
      for the value stated: None.

7.    The undersigned has not shared or agreed to share with any other entity, other than with members of the




                                                                  Law Offices of Peter Francis Geraci
                                                                  4745 Statesman Dr.
                                                                  Suite A
                                                                  Indianapolis IN 46250
                                                                  317.842.1800
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                                                 NORTHERN DISTRICT OF INDIANA
                                                         FORT WAYNE DIVISION
In Re:     Matthew Anthony Marshall and                                               / Debtors

                                                  NOTICE TO INDIVIDUAL CONSUMER DEBTOR                             2003 APR 24 AH 9* 41
THE PURPOSE OF THIS NOTICE IS TO ACQUAINT YOU WITH THE FOUR CHAPTERS OF THE FEDERAL BANKRUPTCY, CODE.UNDER
WHICH YOU MAY FILE A BANKRUPTCY PETITON. THE BANKRUPTCY LAW IS COMPLICATED AND NOT-EASILY DESCRIBED.';M A
THEREFORE, YOU SHOULD SEEK THE ADVICE OF AN ATTORNEY TO LEARN OF YOUR RIGHTS AND RESPONSIBIUTIES UNDER
THE LAW SHOULD YOU DECIDE TO FILE A PETITION WITH THE COURT. COURT EMPLOYEES ARE PROHIBITED FROM GIVING YOU
LEGAL ADVICE.


CHAPTER 7: Liquidation ($155 filing fee plus $45 administrative fee)

1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

2. Under chapter 7 a trustee takes possession of all your property. You may claim certain of your property as exempt under governing law. The
trustee then liquidates the property and uses the proceeds to pay your creditors according to the priorities of the Bankruptcy Code.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have committed certain
kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, I and the purpose for which you filed
the bankruptcy petit bn will be defeated.

4. Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be responsible for such
debts as certain taxes and student loans, alimony and support payments, criminal restitution , I and debts for death or personal injury caused by
driving while intoxicated from alcohol or drugs.

5. Under certain circumstances you may keep property that you have purchased subject to valid security interest. Your attorney can explain
the
 opttans that are available to you.
Chapter 13: Repayment of all or part of the debts of an individual with regular income ($145 filing fee plus $30 administrative fee)

1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to pay them in
installments over a perrad of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy code.

2. Under chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them, using your future
earnings. Usually, the period allowed by the court to repay your debts is three years, but no more than five years. Your plan must be approved
by the court before it can take effect.

3. Under chapter 13, unlike chapter 7, you may keep all your property, both exempt and non-exempt, as long as you continue to make
payments under the plan.

4. After completion of payments under your plan, your debts are discharged except alimony and support payments, student loans, certain debts
including criminal fines and restitution and debts for death or personal injury caused by driving while intoxicated from alcohol or drugs, and long
term secured obligations.

Chapter 11: Reorganization ($800 filing fee)

Chapter 11 is designed primarily for the reorganization of a business but is also available to some debtors. Its provisrans are quite complicated,
and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family farmer ($200 filing fee)

Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in many ways similar
to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family-owned farm.



I, the debtor, affirm that lI have read this notice.




Dated:
                               /   /6
                                                       /2003


               Ay              i     //
Dated:                                                 /2003



                                                        SIGN AND DATE ABOVE
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                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF INDIANA
                                       FORT WAYNE DIVISION
                                                                                      41H.U   APR 24 AM 9: 41
 In Re    Matthew Anthony Marshall and                                  / Debtors

                                                                                    Case No. •;       i"--' ~
                                            STATEMENT OF INTENTION                        n; ^        j
    Attorney for Debtor: Anita K Gloveski                                                     1 :


    1. Debtor(s) have filed a schedule of assets and liabilities which includes consumer debts secured by property of
    the estate.
    2. Debtor(s) intention with respects to this property of the estate which secures those consumer debts is as
    follows:


Property to be Surrendered

 Description of Property                             Creditor's Name                Intention

 Old National                                Old National Bank                      Surrender
           IN 46987;
                                             Attn: Bankruptcy Dept.
 purchase price $127,600 in
                                             110 East Main Street
 2002 with $2,500 down                       Muncie IN 47305
 payment; 3 bdr, 2.5 bath,3500
 square feet (Debtor's
 Residence) (Surrender)

 Old National                                Old National Bank                      Surrender
           IN 46987;
                                             Attn: Bankruptcy Dept.
 purchase price $127,600 in
                                             PO Box 3728
 2002 with $2,500 down                       Evansville IN 47736
 payment; 3 bdr, 2.5 bath,3500
 square feet (Debtor's
 Residence) (Surrender)

 Fifth Third Bank-2000 Ford                  Fifth Third Bank                       Surrender
 Explorer with 57386 miles
                                             Attn: Bankruptcy Dept.
 (Leased Vehicle)
                                             38 Fountain Sq. Plaza
                                             Cincinnati OH 45263
 HH Gregg - 52" Panasonic                    HH Greqq/GE Capital                    Surrender
 TV (surrender)
                                             Attn: Bankruptcy Dept.
                                             PO Box 9001557
                                             Louisville KY 40290

 Old National Bank-lien on                   Old National Bank                      Surrender
 accounts receivable for Elite
                                             Attn: Bankruptcy Dept.
 Nursing Services (surrender)
                                             PO Box 3728
                                             Evansville IN 47736
 Old National Bank-lien on                   Old National Bank                      Surrender
 accounts receivable for Elite
                                             Attn: Bankruptcy Dept.
 Nursing Services (surrender)
                                             PO Box 3728
                                             Evansville IN 47736


Property to be Retained

 Description of Property                              Creditor’s Name               Intention
 Value City - table/chairs                   Value City Furniture                   Reaff @ Fair Market Value
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                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF INDIANA
                                      FORT WAYNE DIVISION
 In Re    Matthew Anthony Marshall and                                / Debtors

                                                                                    Case No.:
                                            STATEMENT OF INTENTION
    Attorney for Debtor: Anita K Gloveski

    1. Debtor(s) have filed a schedule of assets and liabilities which includes consumer debts secured by property of
    the estate.
    2. Debtor(s) intention with respects to this property of the estate which secures those consumer debts is as
    follows:
                                             Attn: Bankruptcy
                                             Department
                                             Box 9767
                                             Macon GA 31297

 Value City - Furniture                     Value City Furniture                    Reaff @ Fair Market Value

                                             Attn: Bankruptcy Dept.
                                             Box 9767
                                             Macon GA 31297

 Dell - computer                            Dell Financial Services                 Reaff @ Fair Market Value
                                             Attn: Bankruptcy Dept.
                                             PO Box 4125
                                             Carol Stream IL
                                             60197-4125

*524(c): Debt will be reaffirmed pursuant to Sec. 524(c)
*722: Property is claimed as exempt and will be redeemed pursuant to Sec. 722

3. Debtor(s) understand that 521 (2) (B) of the Bankruptcy Code requires that the above stated intentions
be performed within 45 days




     Dated:                   IB               _/2003           Matthew Anthony7Marshall

                                                         Sign: X
     Dated:        V/        /f        /2003                Heat


                                            SIGN AND DATE ABOVE
             Case 9:20-cr-00032-DWM                      Document 188-9                Filed 02/25/22            Page 29 of 32
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                                             NORTHERN DISTRICT OF INDIANA received
                                                     FORT WAYNE DIVISION
In Re:     Matthew Anthony Marshall and                                            I Debtors                 APR 2 4 20U3
                                                                                                         JAMES BONIN!, Clerk
                                                                                                        OS. BANKRUPTCY COURT
                                                                                                    NORTHERN DISTRICT OF INDIANA

                                                  VERIFICATION OF CREDITOR MATRIX




The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




Dated:            ________>     /0           __ /2003


Dated:     ^<7              /       /a7       _12003




                                                  SIGN AND DATE ABOVE
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                     Dell Financial Services
                     Attn: Bankruptcy Dept.
                      PO Box 4125
                     Carol Stream IL 60197-4125

                     Discover Financial
                     Attn: Bankruptcy Dept.
                     PO Box 8003
                     Hilliard OH 43026

                     Ewer and Moritz, PC
                     PO Box 1029 517
                     Marion IN 46952


                     Fifth Third Bank
                     Attn: Bankruptcy Dept.
                     38 Fountain Sq. Plaza
                     Cincinnati OH 45263

                     Fifth Third Bank
                     Attn: Bankruptcy Dept.
                     38 Fountain Sq. Plaza
                     Cincinnati OH 45263

                     First Horizon
                     Attn: Bankruptcy Dept.
                     PO Box 1545
                     Memphis TN 38101-1545

                     Gateway
                     Attn: Bankruptcy Dept.
                     PO Box 8181
                     Gray TN 37615

                     HH Gregg/GE Capital
                     Attn: Bankruptcy Dept.
                     PO Box 9001557
                     Louisville KY 40290

                     KHESLC
                     Attn: Bankruptcy Dept.
                     PO Box 9001774
                     Louisville KY 40290-1774

                     Lowes
                     Attn: Bankruptcy Dept.
                     PO Box 103079
                     Roswell GA 30076-9079

                     Maidenberg Associates
                     Attn: Bankruptcy Dept.
                     325 East 2nd Street
                     Marion IN 46952
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                      Marion General Hospital
                      Attn: Bankruptcy Dept.
                      441 N. Wabash Ave.
                      Marion IN 46952-2690

                     MBNA
                     Attn: Bankruptcy Dept.
                     3451 Harry S. Truman Blvd
                     St. Charles MO 63301

                     Old National Bank
                     Attn: Bankruptcy Dept.
                     110 East Main Street
                     Muncie IN 47305

                     Old National Bank
                     Attn: Bankruptcy Dept.
                     PO Box 3728
                     Evansville IN 47736

                     Old National Bank
                     Attn: Bankruptcy Dept.
                     PO Box 3728
                     Evansville IN 47736

                     Old National Bank
                     Attn: Bankruptcy Dept.
                     PO Box 3728
                     Evansville IN 47736

                     Old National Bank
                     Attn: Bankruptcy Dept.
                     110 E. Main St.
                     Muncie IN 47305

                     Provident Bank
                     Attn: Bankruptcy Dept.
                     PO Box 1844
                     Cincinnati OH 45274-1844

                     Sallie Mae
                     Attn: Bankruptcy Dept.
                     PO Box 9500
                     Wilkes Barre PA 18773-9500

                     Sallie Mae
                     Attn: Bankruptcy Dept.
                     PO Box 9500
                     Wilkes Barre PA 18773-9500

                     SBC
                     Attn: Bankruptcy Dept.
                     SBC Bill Center
                     Chicago IL 60663
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                     Sears
                    Attn: Bankruptcy Dept.
                    PO Box 7901
                    Des Moines IA 50322

                     Shell
                    Attn: Bankruptcy Dept.
                    P.O. Box 20383
                    Kansas City MO 64195

                    Staples
                    Attn: Bankruptcy Dept.
                    PO Box 9029
                    Des Moines IA 50368-9029

                    The College Network
                    Attn: Bankruptcy Detp.
                    PO Box 35860
                    Las Vegas NV

                     Value City Furniture
                     Attn: Bankruptcy Department
                     Box 9767
                     Macon GA 31297

                     Value City Furniture
                     Attn: Bankruptcy Dept.
                     Box 9767
                     Macon GA 31297

                     Verizon Wireless
                     Attn: Bankruptcy Dept.
                     Ill Big Timber Rd.
                     Elgin IL 60123-1488
